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           IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                              Central Division for the District of Utah




 USA, ex rel. Jeff Johnson,                       ORDER GRANTING MOTION FOR
                                                  EXTENSION OF TIME OF COMPLETE
                                                  DISCOVERY
                     Plaintiff,                   Case No. 2:08-cv-00877DN
     vs.                                          District Judge David Nuffer
 Mission Support, Inc. And John Does              Magistrate Judge Evelyn J. Furse
 1-10,
                     Defendant.


        Pursuant to Fed. R. Civ. P. 16(b), the Magistrate Judge1 received A Motion for
Extension of Time to Complete Discovery (docket #161). The Court GRANTS the motion and
the following matters are scheduled. The times and deadlines set forth herein may not be
modified without the approval of the Court and on a showing of good cause.

                 **ALL TIMES 4:30 PM UNLESS INDICATED**

1.     PRELIMINARY MATTERS                                                      DATE

       Nature of claim(s) and any affirmative defenses:
            a.   Was Rule 26(f)(1) Conference held?                             Passed
            b.   Has Attorney Planning Meeting Form been submitted?             passed
            c.   Was 26(a)(1) initial disclosure completed?                     passed



2.     DISCOVERY DISPUTE PROCESS
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     (a) The court will not entertain any discovery motion unless
     it grants leave to file one. When a discovery dispute arises,
     counsel must make reasonable efforts to reach agreement
     with opposing attorneys on the dispute. If the parties cannot
     resolve the dispute within 14 days of the dispute arising, the
     parties must file a Discovery Dispute Letter as set forth in
     (b). Failure to submit a letter within this period will result
     in waiver of any relief sought for the discovery dispute or
     assent to the disputed condition.

     (b) Discovery Dispute Letters
     If the meet and confer process fails to resolve the dispute,
     each party should submit a letter (the body of which should
     not exceed 500 words) describing the dispute to the court.
     The letter must include a statement showing the parties
     made reasonable efforts to reach agreement on the disputed
     matters. Such statement must recite, in addition, the date,
     time, and place of such consultation, and the names of all
     participating parties or attorneys. The parties should
     designate amongst themselves one party to attach to its letter
     a copy of the discovery request and the response to the
     request to which a party objects. Each party should also
     e-mail chambers a proposed Order setting forth the relief
     requested in an editable format.

     (c) Discovery Dispute Conference
     The parties should contact chambers to set a conference to
     attempt to resolve the dispute as soon as practicable. The
     court may set the conference upon receipt of the first letter
     and need not wait for any additional letters before setting
     the conference.

     1)      The court may decide the issue on the basis of the
     letters or authorize further briefing without holding the
     conference consistent with DUCivR 7-1(f).

     2)      If after considering the matter, the court determines
     to have the issues fully briefed, the court will authorize the
     filing of a discovery motion and set a briefing schedule.
     Parties may not file a discovery motion without leave of the
     court.
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                                                                         DATE
3.   AMENDMENT OF PLEADINGS/ADDING PARTIES2
     a.   Last Day to File Motion to Amend Pleadings                     passed
     b.   Last Day to File Motion to Add Parties                         passed


4.   RULE 26(a)(2) REPORTS FROM EXPERTS3
     a.   Party Bearing Burden of Proof                                  04/01/2013
     b.   Parties Defending                                              05/01/2013
     c.


5.   OTHER DEADLINES
     a.   Discovery to be completed by:
          Fact discovery                                                 03/15/2013
          Expert discovery                                               06/03/2013
     b.   (optional) Final date for supplementation of disclosures and
          discovery under Rule 26 (e)
     c.    Deadline for filing dispositive or potentially dispositive
           motions                                                       07/01/2013
6.   SETTLEMENT/ ALTERNATIVE DISPUTE RESOLUTION
     a.   Referral to Court-Annexed Mediation
     b.   Referral to Court-Annexed Arbitration
     c.   Evaluate case for Settlement/ADR on
     d.   Settlement probability:


7.   TRIAL AND PREPARATION FOR TRIAL:
     a.   Rule 26(a)(3) Pretrial Disclosures4
          Plaintiffs                                                     10/11/2013
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                    Defendants                                                                          10/25/2013
            b.      Objections to Rule 26(a)(3) Disclosures
                    (if different than 14 days provided in Rule)
                                                                                                        DATE
            c.      Special Attorney Conference5 on or before                                           11/08/2013
            d.      Settlement Conference6 on or before                                                 11/08/2013
            e.      Final Pretrial Conference                                     2:30 p.m.             11/25/2013
            f.    Trial                                  Length                   Time                  Date
                    i. Bench Trial
                    ii. Jury Trial                       Seven Days               8:30 a.m.             12/09/2013
 8.       OTHER MATTERS:
                    Counsel should contact chambers staff of the District Judge regarding
                    Daubert and Markman motions to determine the desired process for
                    filing and hearing of such motions. All such motions, including Motions
                    in Limine should be filed well in advance of the Final Pre Trial. Unless
                    otherwise directed by the court, any challenge to the qualifications of an
                    expert or the reliability of expert testimony under Daubert must be raised
                    by written motion before the final pre-trial conference.

         Dated this 29 day of January, 2013.


                                                        BY THE COURT:


                                              ______________________________
                                                       Evelyn J. Furse
                                                   U.S. Magistrate Judge

1.       The Magistrate Judge completed Initial Pretrial Scheduling under DUCivR 16-1(b) and DUCivR 72-
2(a)(5). The name of the Magistrate Judge who completed this order should NOT appear on the caption of future
pleadings, unless the case is separately referred to that Magistrate Judge. A separate order may refer this case to a
Magistrate Judge under DUCivR 72-2 (b) and 28 USC 636 (b)(1)(A) or DUCivR 72-2 (c) and 28 USC 636
(b)(1)(B). The name of any Magistrate Judge to whom the matter is referred under DUCivR 72-2 (b) or (c) should
appear on the caption as required under DUCivR10-1(a).

2.       Counsel must still comply with the requirements of Fed. R. Civ. P. 15(a).

3.        A party shall disclose the identity of each testifying expert and the subject of each such expert’s testimony
at least 60 days before the deadline for expert reports from that party. This disclosure shall be made even if the
testifying expert is an employee from whom a report is not required.
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4.       Any demonstrative exhibits or animations must be disclosed and exchanged with the 26(a)(3) disclosures.

5.        The Special Attorneys Conference does not involve the Court. Counsel will agree on voir dire questions,
jury instructions, a pre-trial order and discuss the presentation of the case. Witnesses will be scheduled to avoid gaps
and disruptions. Exhibits will be marked in a way that does not result in duplication of documents. Any special
equipment or courtroom arrangement requirements will be included in the pre-trial order.

6.      Counsel must ensure that a person or representative with full settlement authority or otherwise authorized to
make decisions regarding settlement is available in person or by telephone during the Settlement Conference.
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